           Case 2:19-cr-00208-SAB   ECF No. 55   filed 06/01/21   PageID.195 Page 1 of 2



                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT
 1                                                                 EASTERN DISTRICT OF WASHINGTON


 2                                                                  Jun 01, 2021
 3                                                                      SEAN F. MCAVOY, CLERK


 4
 5
                             UNITED STATES DISTRICT COURT
 6
                           EASTERN DISTRICT OF WASHINGTON
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 8
      UNITED STATES OF AMERICA,                       No. 2:19-CR-00208-SAB-1
 9
10                         Plaintiff,                 ORDER GRANTING
                                                      DEFENDANT’S MOTION TO
11                         v.                         MODIFY RELEASE CONDITIONS
12
      KELLY GORDON DUPUIS,                            MOTION GRANTED
13                                                      (ECF No. 54)
14                         Defendant.
15
              Before the Court is Defendant’s Unopposed Motion to Modify Conditions of
16
     Release, ECF No. 54. Defendant is presently completing inpatient substance
17
     abuse treatment, ECF No. 50, pending a plenary hearing on alleged violations of
18
     supervised release.
19
              Defendant now requests to reside at a residential reentry center (RRC) upon
20
     completion of inpatient treatment, instead of returning to the custody of the U.S.
21
     Marshal. Defendant notes he is nearly finished with the inpatient treatment earlier
22
     authorized, and that District Judge Bastian has today authorized him to reside at
23
     the RRC as a condition of supervised release, ECF No. 53.
24
              After reviewing the submitted material and relevant authority, and finding
25
     good cause IT IS ORDERED Defendant’s motion, ECF No. 54, is GRANTED.
26
     Upon successful completion of inpatient treatment on or about June 4, 2021,
27
     ///
28



     ORDER - 1
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 1   Defendant shall reside in a residential reentry center (RRC) pending his supervised
 2   release revocation hearing.
 3         IT IS SO ORDERED.
 4         DATED June 1, 2021.
 5
 6                                 _____________________________________
                                             JOHN T. RODGERS
 7                                  UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
